                     Case 2:08-cr-00212-TLN Document 558 Filed 01/29/13 Page 1 of 2
AO 245D-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
            DALANA IRENE VAUGHN
                                                                          Criminal Number: 2:08CR00212-013


                                                                          Courtney Fein, Assistant Federal Defender
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] admitted guilt to violation of charges 1 and 2 as alleged in the violation petition filed on October 23, 2012 .
[]  was found in violation of condition(s) of supervision as to charge(s) after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation Number                     Nature of Violation                                     Date Violation Occurred
1                                    Failure to Follow Instructions of Probation             10/18/12, 10/04/12
                                     Officer
2                                    Unlawful Use of a Controlled Substance                  10/04/12, 10/16/12



The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on May 22, 2012 .

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dismissed.

       Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect. While
incarcerated, payment of any financial obligations are due during imprisonment of not less than $25 per quarter
and payment shall be made through the Bureau of Prison’s Inmate Financial Responsibility Program.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.

                                                                                          January 15, 2013
                                                                                    Date of Imposition of Judgment




                                                                                      Signature of Judicial Officer

                                                                      LAWRENCE K. KARLTON, United States District Judge
                                                                              Name & Title of Judicial Officer

                                                                                            January 29, 2013
                                                                                                 Date
                    Case 2:08-cr-00212-TLN Document 558 Filed 01/29/13 Page 2 of 2
AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:               2:08CR00212-013                                                               Judgment - Page 2 of 2
DEFENDANT:                 DALANA IRENE VAUGHN


                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term
of 6 months .



[]       No TSR: Defendant shall cooperate in the collection of DNA.

[U]      The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends that the defendant be incarcerated in a Camp facility, but only insofar as this accords with
         security classification and space availability.


[U]      The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on       .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                Deputy U.S. Marshal
